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 18
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 19
                          UNITED STATES DISTRICT COURT
 20
                        SOUTHERN DISTRICT OF CALIFORNIA
 21
      ROCHELLE NISHIMOTO,                       Case No. 16-cv-1974 BEN LL
 22   individually and as Successor in Interest
      to JASON NISHIMOTO,                       JOINT PROPOSED SCHEDULING
 23                                             ORDER
                              Plaintiffs,
 24         v.
 25   COUNTY OF SAN DIEGO; and DOES
      1-100, inclusive,
 26
                             Defendants.
 27

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      JOINT PROPOSED SCHEDULING ORDER                            16-CV-1974 BEN LL
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  1            Plaintiffs and Defendants (collectively “the Parties”) through their respective
  2   attorneys of record, jointly submit the following proposed scheduling order per the
  3   Court’s order.
  4                                Deadline                                  Proposed Date
  5    Pretrial Disclosures                                               February 7, 2022
  6    Meet and Confer Pursuant to Local Rule 16.1.f.4                    February 21, 2022
  7    Deadline to File Motions in Limine                                 February 21, 2022
  8    Deadline to Plaintiff to Provide Pretrial Conference Order         March 7, 2022
  9    Deadline to File Oppositions to Motions in Limine                  March 14, 2022
 10    Deadline to Lodge Pretrial Conference Order                        March 21, 2022
 11    Deadline to File Replies to Motions in Limine                      March 21, 2022
 12    Deadline to Submit Joint Jury Instructions, Special Verdict        March 21, 2022
 13    Forms, and Proposed Voir Dire Questions
 14    Final Pretrial Conference                                          March 28, 2022
 15    Trial                                                              April 25, 2022
 16
               The Parties’ request for an April trial date is based on Plaintiff’s expert
 17
      availability. Specifically, Mr. McMunn has represented that he is only available the
 18
      last two weeks of April 2022. Additionally, Defendant Anne Brantman’s attorney
 19
      has retired since this case was reversed on appeal. Mr. Cramer will be representing
 20
      Defendant Brantman and has requested additional time to review and evaluate the
 21
      remaining claims and to prepare for trial.
 22

 23                                             Respectfully submitted,
 24                                             MORRIS LAW FIRM, APC
 25
      Dated: July 14, 2021                        s/_Danielle R. Pena _______________
 26                                             Danielle R. Pena, Esq.
                                                dpena@morrislawfirmapc.com
 27                                             Attorneys for Plaintiff Rochelle Nishimoto
 28
                                                    2
      JOINT PROPOSED SCHEDULING ORDER                                     16-CV-1974 BEN LL
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  1   Dated: July 14, 2021                   LOTZ, DOGGETT & RAWERS, LLP
  2
                                              s/ Brian Bloodworth
  3                                          By: Jeffrey Doggett
                                             Brian T. Bloodworth
  4                                          Attorneys for Defendant Correctional
                                             Physicians Medical Group, Inc.
  5
      Dated: July 14, 2021                   CARROLL, KELLY, TROTTER &
  6                                          FRANZEN
  7

  8                                             s/ N. Ben Cramer
                                             By: N. Ben Cramer
  9                                          Attorneys for Defendant Anne Brantman, NP
 10
      Signature Certification:
 11
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 12
      Policies and Procedures Manual, I hereby certify that the content of this document
 13
      is acceptable to Brian Bloodworth, Counsel for Defendant Correctional Physicians
 14
      Medical Group, Inc. and N. Ben Cramer, Counsel for Defendant Anne Brantman
 15
      and that I have obtained Mr. Bloodworth and Mr. Cramer’s authorization to affix
 16
      their electronic signature to this document.
 17

 18   Dated: July 14, 2021                            s/ Danielle R. Pena
                                                     Danielle R. Pena, Esq.
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      JOINT PROPOSED SCHEDULING ORDER                                 16-CV-1974 BEN LL
